      Case: 2:00-cr-00094-SA-DAS Doc #: 242 Filed: 08/29/05 1 of 1 PageID #: 142




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 2:00CR94-P-B

MACK ARTHUR BOWENS,                                                            DEFENDANT.

                                               ORDER

       This matter comes before the court upon the Government’s Motion to Strike [237-1].

Upon due consideration of the motion the court finds as follows, to-wit:

       The instant motion was filed on June 16, 2005. As of this date, no response has been

filed. Local Rule 7.2(c)(3) requires a party to notify the court if it intends not to respond to a

motion. Local Rule 7.2(c)(2) allows the court to grant a motion to which no response was filed.

In any event, the court concludes that the merits of the Government’s motion warrant the relief

sought therein.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Government’s Motion to Strike [237-1] is GRANTED; accordingly,

       (2) The defendant’s letter entitled “Request for Direct Appeal Reinstatement For Unfair

Review Due to ‘Fraud Upon the Appellate Court” by the Trial Court and the Government [236-1]

is hereby STRICKEN FROM CONSIDERATION.

       SO ORDERED this the 26th day of August, A.D., 2005.


                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE
